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8                         UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
10
      MARILU F. TOUMA,                  ) NO. SA CV 19-02412-VBF (KS)
11                                      )
                        Plaintiff,
12                                      )
              v.                        ) JUDGMENT
13                                      )
14                                      )
      THE E.E.O.C., et al.,
                                        )
15                      Defendants.     )
16    _________________________________ )
17
18         IT IS ADJUDGED that this action is dismissed without prejudice.
19
20    DATED: September 18, 2020
21                                                     ________________________________
22                                                        VALERIE BAKER FAIRBANK
                                                       UNITED STATES DISTRICT JUDGE
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